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                            Nos. 23-15650, 24-1979

                      In the
         United States Court of Appeals
              for the Ninth Circuit
                    ___________________________________
                       ANDREW HARRINGTON, ET AL.,
                                       Plaintiffs-Respondents
                                    v.
             CRACKER BARREL OLD COUNTRY STORE INCORPORATED,
                                       Defendant-Petitioner
                   ___________________________________
         On Appeal from the United States District Court for the
                          District of Arizona
                    Case No. No. 2:21-cv-00940-DJH
                 Hon. Diane J. Humetewa, Presiding
                ___________________________________

               APPELLANT’S CONSOLIDATED
                    OPENING BRIEF
                    ___________________________________
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             CORPORATE DISCLOSURE STATEMENT
      Under FED. R. APP. PROC. 26.1, Petitioner certifies that it is a

nongovernmental corporation and that the following publicly- owned

companies own more than 10% of its stock: BlackRock, Inc. and

Vanguard Group, Inc.


                                By: ____s/Steven Bernard Katz______
                                      COUNSEL FOR PETITIONERS




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                 STATEMENT OF JURISDICTION
      Appellant-Defendant Cracker Barrel Old Country Store,

Incorporated appeals an Order of the District of Arizona denying

Cracker Barrel’s Motion to Dismiss and Compel Arbitration and

partially granting Appellee-Plaintiffs Andrew Harrington, Katie

Liammaytry, Jason Lencerht, and Dylan Basch Motion for Conditional

Certification (hereafter the “Order”).1 This Court has jurisdiction over

the part of the appeal related to denial of the motion to compel

arbitration under the Federal Arbitration Act, 9 U.S.C. § 16(a)(1)(C) .

The Court has jurisdiction over the rest of the appeal under 28 U.S.C. §

1292(a)(1), following the granting of Cracker Barrel’s § 1292(b) petition

by this Court on March 26, 2024.




      1 The “Order” is included in the Excerpts of Record (ER), p. 6-33.

All citations to docket entries not included in the Excerpts are from the
district court action, Gillespie, et al., v. Cracker Barrel Old Country
Store, Incorporated, No. 21-cv-00940.
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                        SUMMARY OF APPEAL
      The Supreme Court and this Court agree that named plaintiffs

may use §216(b) of the Fair Labor Standards Act (FLSA) “to send notice

to all potential plaintiffs.” Does I thru XXIII v. Advanced Textile Corp.,

214 F.3d 1058, 1064 (9th Cir. 2000) (emphasis added) (citing Hoffman-

La Roche, Inc. v. Sperling, 493 U.S. 165, 170 (1989)). The district court,

however, erred in authorizing notice to over 100,000 individuals,

approximately 97% of whom are not “potential plaintiffs.” These

individuals, who the district court has already ruled are not “potential

plaintiffs” fall into two categories: (1) individuals whom the court

determined cannot participate in the litigation because they have

signed a valid and enforceable Arbitration Agreement as an adult, and

(2) individuals who cannot participate because their claims have no ties

to the forum state of Arizona and therefore they cannot establish

specific personal jurisdiction. Respectfully, this Court should correct

this error by instructing the district court (1) not to authorize notice to

individuals whom the court determined are bound to arbitrate their

claims and (2) by applying the Supreme Court’s ruling in Bristol-Myers

Squibb Co. v. Superior Ct. of California, San Francisco Cnty., 582 U.S.

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255 (2017) to the FLSA—thereby only authorizing notice to those

individuals who can establish specific personal jurisdiction in the forum

state.

      Additionally, the Court should take this opportunity to clarify the

appropriate mechanism for determining if individuals are “similarly

situated” under 29 U.S.C. § 216(b). The district court used a two-step

mechanism found nowhere in the text of the FLSA or in Supreme Court

precedent. This method is riddled with flaws and the only two Circuits

to consider its propriety (the Fifth and Sixth) have rejected it. The

Court should adopt the standard the Fifth Circuit proffered in Swales v.

KLLM Transport Services, L.L.C., 985 F.3d 430, 443 (5th Cir. 2021),

and instruct the district court to “rigorously enforce” the “similarly

situated” language of § 216(b).

      Finally, the district court erred by allowing named plaintiff Basch

to repudiate the Arbitration Agreement he signed over 3 years after he

signed it, and over 18 months after turning the age of majority.

Allowing such repudiation flies in the face of the Federal Arbitration

Act’s (FAA) public policy and equity, since Basch enjoyed the benefits of

the Arbitration Agreement—continued employment—for over 3 years


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before repudiating. The Court should find that 18 months after turning

the age of majority is an unreasonable amount of time to wait to

repudiate a contract signed as a minor and instruct the district court to

enforce Basch’s Arbitration Agreement.




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                           ISSUES PRESENTED
      1. Whether a district court, in determining whether putative

plaintiffs are “similarly situated” to named plaintiffs under § 216(b) of

the FLSA, should “rigorously enforce the similarly situated

requirement” through a period of preliminary discovery as held by the

Fifth Circuit in Swales v. KLLM Transport Services, L.L.C., 985 F.3d

430, 443 (5th Cir. 2021), or must follow the two-step certification

process detailed in Lusardi v. Xerox Corp., 118 F.R.D. 351, 352 (D. N.J.

1987).

      2. Whether Bristol-Myers Squibb Co. v. Superior Ct. of California,

San Francisco Cnty., 582 U.S. 255, 265 (2017), prevents a district court

from sending notice under § 216(b) of the FLSA to individuals over

whom the Court lacks specific personal jurisdiction.

      3. Whether a district court may allow sending of notice under §

216(b) of the FLSA to individuals whom the Court has found to be

bound by an enforceable arbitration agreement.

      4. Whether a party who signs an arbitration agreement as a

minor may wait more than a year and one-half after reaching the age of




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majority to repudiate the arbitration agreement and avoid arbitration of

their covered claims.




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                       STANDARD OF REVIEW

      This Court reviews a district court’s conclusions of law and any

mixed questions of law and fact de novo. Fed. Trade Comm'n v.

Qualcomm Inc., 969 F.3d 974, 993 (9th Cir. 2020) (citing OneBeacon

Ins. Co. v. Haas Indus., Inc., 634 F.3d 1092, 1096 [9th Cir. 2011)]). This

court also reviews a district court’s decision to deny a motion to compel

arbitration de novo. Stover v. Experian Holdings, Inc., 978 F.3d 1082,

1085 (9th Cir. 2020) (quoting Bushley v. Credit Suisse First Boston, 360

F.3d 1149, 1152 [9th Cir. 2004]).




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                            RELATED CASES
      This case has two appeals stemming from one Order of the district

court. One appeal is under 9 U.S.C. § 16(a)(1)(C), the other under 28 §

U.S.C. § 1292(a)(1). Because the appeals involve the same parties and

the same operative Order, this Court consolidated the two appeals on

April 23, 2024.




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                     STATEMENT OF FACTS
                   AND PROCEDURAL HISTORY
      Plaintiffs filed this Fair Labor Standards Act (“FLSA”) collective

action on May 28, 2021, against their former employer, Cracker Barrel.

(D. Ariz. ECF 1.)2 From the outset, and through extensive motion

practice, the parties litigated whether plaintiffs’ claims could go forward

even though they signed arbitration agreements as part of Cracker

Barrel’s Alternative Dispute Resolution Program, and despite the

existence of defects in the district court’s personal jurisdiction over the

claims. (D. Ariz. ECF 8, 21, 32, 47, 48, 55, 57, 62, 73.)


                                        I.
THE DISTRICT COURT DISMISSED THE ORIGINAL COMPLAINT BECAUSE ALL
            NAMED PLAINTIFFS AGREED TO ARBITRATION.

      In response to the original complaint and first motion for

conditional certification, Cracker Barrel brought a Motion to Compel

Named Plaintiffs to Individual Arbitration and Dismiss. (D. Ariz. ECF




      2 All assertions regarding matters in the record are supported by

citation to the ER. Pursuant to Rule 28-2.8, assertions regarding
undisputed facts offered only for general background are not included in
the ER. For the Court’s convenience, these assertions are cited using
the district court ECF number.

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21.) It argued that all four named plaintiffs signed enforceable

arbitration agreements and must be compelled to arbitrate their claims.

On November 12, 2021, the district court entered an order granting

Cracker Barrel’s motion and dismissing the complaint. (ER 45-54.) It

held that the named plaintiffs—and any opt-in plaintiff whose claims

were subject to the arbitration agreement— were bound to resolve their

claims through arbitration. (ER 53-54.) The district court granted

leave to amend to add new plaintiffs who were not bound to individual

arbitration. Id.

      The district court denied reconsideration of its order, stating

“Plaintiffs will have the opportunity to file another motion for

conditional certification if and when they propose a class that is not

subject to the [Arbitration] Agreement.” (ER 43-44) (emphasis added).

      On February 23, 2022, plaintiffs filed a First Amended Complaint

adding three substitute named plaintiffs—Andrew Harrington, Katie

Liammaytry and Jason Lenchert. (D. Ariz. ECF 57.) None of the three

resided in Arizona, worked for Cracker Barrel in Arizona, or asserted

claims based on any activities in Arizona. (Cracker Barrel does not




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reside in Arizona for purposes of general personal jurisdiction). (See D.

Ariz. ECF 62, p.3.)

      Cracker Barrel moved to dismiss for lack of personal jurisdiction.

(D. Ariz. ECF 62.) The district court again dismissed the complaint

(this time on jurisdictional grounds), but again granted leave to amend.

(ER 34-39.)


                                       III.
THE DISTRICT COURT GRANTS CONDITIONAL CERTIFICATION—INCLUDING
EMPLOYEES BOUND BY ARBITRATION AGREEMENTS AND EMPLOYEES WHO
                HAVE NO CONNECTION TO ARIZONA.

      On August 10, 2022, plaintiffs filed a Second Amended Complaint,

naming the three out-of-state plaintiffs previously dismissed and a

fourth one who worked in Arizona. (D. Ariz. ECF 74.) Shortly after,

they filed a Motion for Conditional Certification. (D. Ariz. ECF 76.)

      Cracker Barrel filed a Motion to Compel Individual Arbitration

and Dismiss Second Amended Complaint on August 24, 2022. (D. Ariz.

ECF 77.) This time, the district court denied the motion, reasoning (1)

because the Arizona plaintiff signed his arbitration agreement when he

was a minor, he repudiated the agreement by filing suit, and (2) his

presence cured any defects in personal jurisdiction over all named


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plaintiffs (including the three the district court previously dismissed).

(ER 13-15.)

      The district court also granted conditional certification in part,

making four rulings relevant to this appeal:

      First, the court declined to follow the FLSA’s similarly situated

standard from Swales v. KLLM Transport Services, L.L.C., 985 F.3d

430 (5th Cir. 2021), and instead utilized a two-step conditional

certification approach rooted in Lusardi v. Xerox Corp., 118 F.R.D. 351

(D. N.J. 1987). (ER 16-17.)

      Second, the court conditionally certified a collective that included

over 100,0003 individuals who had no ties to the forum state of Arizona.

(ER 27-28) Fewer than 3,000 individuals in the collective certified by

the district court have connections to Arizona. (ER 5.)

      Third, the district court granted conditional certification of a

nationwide FLSA collective that included over 60,000 individuals who



      3 The Order (ER 6-33) was entered March 31, 2023.     All
representations made about the makeup and size of the putative
collective are based on data as of April 10, 2023. (ER 3-5.) Should the
Court affirm the district court’s Order, the passage of time will lead to
the proportional increase in these numbers, including a putative
collective likely over 150,000 individuals.

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as adults signed arbitration agreements which the court already

determined were enforceable. (ER 43-44) (ordering that any collective

proposed by Plaintiffs should be a collective that is “not subject to the

[Arbitration] Agreement.”).

      Fourth, the district court allowed named plaintiff Basch to

repudiate his otherwise enforceable Arbitration Agreement, 3 years

after he signed it and over 18 months after reaching the age of majority.




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      STATUTORY BACKGROUND AND KEY DECISIONS


                               I.
THE FAIR LABOR STANDARDS ACT’S SILENCE ON THE PROPER MECHANISM
        FOR DETERMINING “SIMILARLY SITUATED” EMPLOYEES.

      In 1938 the FLSA created the rights of workers to a minimum

hourly wage and overtime compensation for work beyond forty hours

per week. 29 U.S.C. § 206(a)(1), 207(a)(3). To help with the law’s

enforcement and in the interests of judicial economy, § 216(b) of the

FLSA gave employees the right to proceed collectively, seeking recovery

not only for their own claims, but also for those of “other employees

similarly situated.” 29 U.S.C. § 216(b). Neither the text of the statute

nor the legislative history defines the meaning of the phrase “similarly

situated,” although the phrase was commonly used in pleading class

action claims even before the adoption of the Federal Rules of Civil

Procedure. See, e.g., Carpenter v. Knollwood Cemetery, 198 F. 297, 298

(D. Mass. 1912).

      Later, the Portal-to-Portal Act, 29 U.S.C. § 251 et seq., created an

opt-in requirement where employees must file a written “consent” with

the court to become a “party plaintiff” in a case. Hoffman-La Roche, Inc.


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v. Sperling, 493 U.S. 165, 170 (1989); 29 U.S.C. § 216(b). Because of this

opt-in procedure, courts concluded that § 216(b) actions involve a

separate procedural device from Rule 23 class actions. In Hoffman-La

Roche, Inc. v. Sperling, the United States Supreme Court settled a

circuit split and found that FLSA plaintiffs could affirmatively ask for

court-authorized notice to be sent to similarly situated parties. The

Supreme Court provided no guidance, however, as to whom the notice

should be sent or a procedural framework to decide if the notice should

be sent.


                                    II.
             THE SUPREME COURT’S 2017 BRISTOL-MYERS DECISION.

      Congress expressly did not provide for nationwide service in the

FLSA and reading such a provision into the statute would violate

Congress’s intent. See e.g. Canaday v. Anthem Cos., Inc., 9 F.4th 392,

399 (6th Cir. 2021) (“While the FLSA shows no reticence in setting

nationwide labor standards, it does not establish nationwide service of

process.”); Omni Cap. Int'l, Ltd. v. Rudolf Wolff & Co., 484 U.S. 97, 106,

(1987) (“It would appear that Congress knows how to authorize

nationwide service of process when it wants to provide for it. That


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Congress failed to do so here argues forcefully that such authorization

was not its intention.”) The Supreme Court held in 2017 that the Due

Process Clause of the Fourteenth Amendment does not permit courts to

exercise specific personal jurisdiction over claims brought by out-of-

state plaintiffs, even when those out-of-state plaintiffs join a case also

pursued by in-state plaintiffs. See Bristol-Myers Squibb Co. v. Superior

Ct. of California, San Francisco Cnty., 582 U.S. 255, 262, (2017)

(“Bristol Myers”). This is because courts must make sure they have

personal jurisdiction over a defendant regarding each plaintiff’s

individual claims. Id. at 265. Out-of-state plaintiffs who cannot show

their claims have “minimum contacts” with the forum state must be

dismissed, even if in-state plaintiffs’ claims may continue. Id.




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                                ARGUMENT
      There are currently four issues before the Court:

      1. The Court should adopt the reasoning of Swales and instruct

district courts to eschew the two-step “conditional certification”

approach rooted in Lusardi in favor of rigorously enforcing the

“similarly situated” requirement of § 216(b). The two-step approach has

no bases in the statute or Supreme Court precedent. On the other

hand, the single-step analysis articulated in Swales more closely aligns

with the plain text of the statute, addresses the Supreme Court’s

concerns of undue settlement pressure in mass actions prior to

consideration of the merits of claims, and comports with the Supreme

Court’s “fair reading” directive in Encino Motorcars, LLC v. Navarro.

      2 The Court should join the three out of four Circuits which have

applied the Supreme Court’s Bristol Myers holding to FLSA collective

actions. The Supreme Court confirmed that courts must make sure

they have personal jurisdiction over a defendant regarding each

plaintiff’s individual claims. Thus, out-of-state plaintiffs who cannot

show their claims have “minimum contacts” with the forum state must

be dismissed, even if in-state plaintiffs’ claims may continue. The

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application of this principle to the collective action mechanism

necessitates that only those individuals whose claims have ties to

Arizona can participate in the litigation and therefore are the only

individuals who should receive § 216(b) notice.

      3. Section 216(b) notice is only appropriate for those individuals

who are “potential collective action members.” Campbell v. City of Los

Angeles, 903 F.3d 1090, 1099 (9th Cir. 2018). It is axiomatic then, that

individuals who cannot participate in the collective should not receive

notice inviting them to join. However, that’s exactly what the district

court held, authorizing § 216(b) notice to over 60,000 individuals who,

per the district court’s previous order, are bound to arbitrate their

claims and cannot participate in the collective. The Court must instruct

the district court not to run afoul of Hoffman-La Roche, Inc. and instead

only issue notice, if any, to individuals who are eligible to participate.

      4. The Court should instruct the district court that waiting over

18 months after turning the age of majority to repudiate an Arbitration

Agreement signed as a minor is unreasonable. Plaintiff Basch took the

benefit of the signed Arbitration Agreement—continued employment

with Cracker Barrel—for over 3 years, and only now attempts to renege


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on the obligations attached to that benefit. Courts examining this issue

in the context of FLSA claims are in accord. See e.g. Norred v. Cotton

Patch Cafe, LLC, 3:19-CV-1010-G, 2019 WL 5425479, at *7 (N.D. Tex.

Oct. 22, 2019) (Precluding plaintiff from repudiating an arbitration

agreement signed as a minor in an FLSA action where plaintiff did not

attempt repudiation until almost one year after turning 18 years old, a

delay the court found was not “reasonable”). It is undisputed that

Basch signed the Arbitration Agreement and received the benefit of

that bargain for over 3 years. The Court should instruct the district

court to enforce the Arbitration Agreement signed by Basch.


                                        I.
THE DISTRICT COURT ERRED IN AUTHORIZING NOTICE UNDER § 216(B) OF
 THE FLSA BY APPLYING LUSARDI’S- “MODEST” TWO-STEP MECHANISM
   INSTEAD OF “RIGOROUSLY ENFORC[ING] THE SIMILARLY SITUATED
  REQUIREMENT” OF THE STATUTE AS HELD BY THE FIFTH CIRCUIT IN
                            SWALES.

      The district court’s Order authorized notice under § 216(b) to over

100,000 individuals across the country based on an outdated, two-step

standard created by a New Jersey district court. Recently, the Fifth

and Sixth Circuits—the only two Circuits to directly address the

propriety of Lusardi’s two-step certification scheme—have rejected it.


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Instead, both articulated standards which more closely align with the

plain text of the FLSA. The Court should join them, rejecting Lusardi’s

two-step conditional certification approach and adopting the sound

reasoning of the Fifth Circuit in Swales v. KLLM.


                                        A.
    NEITHER THE FLSA NOR SUPREME COURT PRECEDENT MANDATE A
    PARTICULAR STANDARD TO DETERMINE IF PARTIES ARE “SIMILARLY
                   SITUATED” UNDER THE FLSA.

      As discussed supra, the Supreme Court and plain text of the FLSA

provide no guidance as to whom § 216(b) notice should be sent or a

procedural framework to decide if it should be sent. This Court notes:

      the FLSA leaves the collective action procedures—beyond the

requirement of a written opt-in—open. [T]he FLSA does not establish a

process for evaluating the propriety of the collective mechanism as

litigation proceeds. It does not provide a definition of “similarly

situated”—the requirement that largely determines the viability of a

collective action. And it says nothing about the standard the district

court should apply when the collective mechanism is challenged.

Campbell v. City of Los Angeles, 903 F.3d 1090, 1108 (9th Cir. 2018).




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        As a result, “in the absence of statutory or case law guidance,”

district courts “have arrived at a loose consensus as to the proper

procedure for determining whether the collective mechanism is

appropriate.” Id. at 1108-09. This “loose consensus,” found nowhere in

the plain language of the FLSA or its implementing regulations, is a

two-step conditional certification approach, originating from Lusardi v.

Xerox Corp., 118 F.R.D. 351, 378-379 (D.N.J. 1987), where the court

conditionally certifies a class for notice purposes and the defendant

eventually moves for decertification. See Campbell at 1108-1110. This

Court has correctly opined, however, that while the Lusardi approach

“is properly aimed at gauging whether party plaintiffs are legally or

factually ‘similarly situated,’ it does so at such a high level of

abstraction that it risks losing sight of the statute underlying it.” Id. at

1114.

        Lusardi “offers no clue as to what kinds of ‘similarity’ matter

under the FLSA.” Id. The Lusardi-based two-step approach is “a

balancing test with no fulcrum.” Id. It is likely for these reasons that

this Court has declined to formally adopt the Lusardi-based approach or

any other two-step method of determining if the collective mechanism is


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appropriate. Id. at n. 21 (“Nor do we intend to preclude the district

courts from employing any other, differently titled or structured test

that otherwise gives full effect to our understanding of § 216(b).”). This

Court is not bound by precedent or the plain meaning of the statute to

follow the Lusardi-based two-step approach and should instead instruct

district courts in this circuit to “rigorously enforce at the outset of the

litigation” § 216(b)’s “‘similarly situated’ mandate.” Swales, 985 F.3d at

443.


                                        B.
THE TWO-STEP COLLECTIVE CERTIFICATION APPROACH IS OUTDATED AND
  FAILS TO ACCOUNT FOR SUPREME COURT CONCERNS OVER UNDUE
                    SETTLEMENT PRESSURE.

       The two-step approach used by the district court is rooted in

Lusardi, a non-binding out-of-circuit district court case. Much has

changed since Lusardi was decided, including the applicable Rule

12(b)(6) standard.

       Lusardi arose when Conley v. Gibson, 355 U.S. 41 (1957), was the

applicable pleading standard. Conley set the modest “fair notice”

standard that was the applicable Rule 12(b)(6) standard for 50 years

until the Supreme Court’s Bell Atlantic Corp. v. Twombly, 550 U.S. 544


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(2007) decision and its later decision in Ashcroft v. Iqbal, 556 U.S. 662

(2009). The Lusardi court did not have the benefit of the Twombly/Iqbal

decisions. The Conley standard only required that a plaintiff

“adequately set forth a claim and g[ive] the respondents fair notice of its

basis.” Conley, 355 U.S. at 48. With fair notice as the floor of what a

plaintiff must show, the Lusardi court created the “modest” conditional

certification standard as a gatekeeping mechanism for § 216(b) notice.

      In the six decades since Conley much has changed in the legal

landscape, including the explosion of FLSA collective action litigation.

Over the last ten years, an average of 7,406 FLSA cases were filed by

plaintiffs in federal courts.4 In 2023, 2,909 collective actions were

terminated from the docket with only 41 cases resolving on the merits

via trial. Id. While data is not publicly available for the remaining

cases, in 2023, 423 FLSA collective actions settled in federal court with

reported settlement values, totaling $493,571,392. Conley and

Lusardi’s “modest” conditional certification standard divorces the


      4 “2023 FLSA Litigation Metrics & Trends, ” Seyfarth Shaw LLP,

March 4, 2024 (available on the Internet at
https://www.lexology.com/library/ detail.aspx?g=660078fd-fd2d-42ec-
95c59012604c6413#:~:text=In%202023%2C%20423%20FLSA%20collect
ive,reached%20in%202023%20was%20%2465%2C500%2C000.

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outcome of FLSA collective actions cases from their merits because it

creates disproportionate and undue settlement pressures before a court

is required to consider the merits of a case.

      “Cases should be decided upon their merits whenever reasonably

possible.” NewGen, LLC v. Safe Cig, LLC, 840 F.3d 606, 616 (9th Cir.

2016). Conley and Lusardi’s “modest” conditional certification

standard, however, rarely leads to this result. Instead, it has led to this

playbook for the plaintiffs: (1) bring a collective action, (2) satisfy step

one of Lusardi’s “modest” conditional certification standard via

allegations alone, (3) send § 216(b) notice to build a large collective, (4)

create undue pressure for companies to settle before a court can address

the merits with the threat of expensive and time-consuming litigation.

This playbook rarely results in courts even considering, much less

opining on, the merits of a claim. These concerns over undue pressure

to settle potentially meritless claims in mass actions were central to the

Supreme Court’s decision to overrule Conley in Twombly. See

Twombly, 550 U.S. at 558 (criticizing the coercive inflation of

settlement values in overturning Conley). In overturing Conley, the

Supreme Court lamented a plaintiff’s ability to take “a largely


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groundless claim,” band together a class action around that claim, and

then leverage that large class to greatly increase litigation costs and “in

terrorem” settlement pressures. Id.

      Because it is rooted in Conley and not the pleading standard of

Twombly, the Lusardi-based two-step certification mechanism creates

the same misguided “in terrorem increment of the settlement value” of

FLSA collective action claims, regardless of their merit. Id. (quoting

Blue Chip Stamps v. Manor Drug Stores, 421 U.S. 723, 741 (1975)).

This is because the two-step approach of Lusardi has been interpreted

by district courts in this Circuit to only require a “modest” factual

showing to justify conditional collective certification.5 A “modest”

standard requires a district court “only to conclude whether there may

be other similarly situated workers.” Shi Yong Li v. 6688 Corp., No. 12

Civ. 6401, 2013 WL 5420319, at *2 (S.D.N.Y. Sept. 27, 2013) (emphasis




      See e.g. Estrada v. Avalon Health Care Hearthstone, LLC, No.
      5

1:21-CV-688-CL, 2023 WL 8809734, at *10 (D. Or. Nov. 29, 2023) (only
a “modest factual showing” needed for conditional certification);
Dominguez v. Better Mortg. Corp., No. 8:20-CV-01784-JLS-KES, 2022
WL 17216831, at *3 (C.D. Cal. Oct. 24, 2022) (same).




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original). Yet what may conceivably be true and what is plausibly true

are different matters. As the Supreme Court held, a party must allege

enough facts to “nudge[] their claims across the line from conceivable to

plausible.” Twombly, 550 U.S. at 570 (emphasis added). Such is the

problem with the “modest” showing two-step conditional certification

standard. A Lusardi plaintiff need only make it “conceivable” that

similarly situated employees exist, not “plausible,” thus making the

Lusardi standard far more lenient than even the Rule 12(b)(6)

standard.

      The Lusardi approach to collective actions permits plaintiffs to

ignore Twombly/Iqbal. A plaintiff typically presents conclusory,

boilerplate declarations as “evidence” of a similarly situated collective

that would not survive scrutiny as pleading under the Twombly/Iqbal

standard but somehow suffices under the “modest” factual showing

approach. Lusardi and the “modest” factual showing standard have

become a conduit for the Conley standard to live on after it was

overruled. The Court should put an end to this and reject Lusardi.




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                                  C.
  TWOMBLY/IQBAL MARKED A SHIFT IN HOW COURTS MUST SCRUTINIZE
  ALLEGATIONS AND FILINGS IN THE INITIAL STAGES OF MASS ACTIONS.

      In mass actions the Supreme Court makes clear that courts

should be wary of and attempt to prevent threats of costly litigation

which lead to “in terrorem” settlement pressures very early in cases—

before the merits are addressed. See Twombly, 550 U.S. at 558. These

concerns in the class action context of Twombly were central to the

Supreme Court’s decision to overrule Conley. Id. These concerns are

also present in the mass action context of the FLSA’s collective action

mechanism.

      In Twombly, when faced with a mass action, the Supreme Court

rejected the idea that meritless claims can be “weeded out early in the

discovery process through careful case management.” Id. at 559

(citation omitted). This is because “the threat of discovery expense will

push cost-conscious defendants to settle even anemic cases before

reaching [the merits at summary judgment].” Id. The Supreme Court

acknowledged the problem of the incredible settlement pressure which

comes, not from the merits of a claim, but from the sheer volume of

potential litigants and the threat of expensive litigation, and sought to


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correct it by raising the pleading standard for a complaint. Here, this

Court can further address this problem by raising the pleading

standard for the “similarly situated” mechanism of the FLSA.

       The Court should address in the FLSA collective action context

the same concerns of “in terrorem” settlement pressures the Supreme

Court addressed in the class context in Twombly. The Court should

replace Lusardi’s “modest” two-step conditional certification with a one-

step mechanism that “rigorously enforce[s] at the outset of the

litigation” § 216(b)’s “‘similarly situated’ mandate.” Swales, 985 F.3d at

443.


                                        D.
  THE LUSARDI APPROACH ALSO CONFLICTS WITH THE SUPREME COURT
  MANDATE IN ENCINO MOTORCARS, LLC V. NAVARRO TO INTERPRET THE
                  FLSA WITH A “FAIR READING.”

       When courts in this circuit are confronted with how to determine

if individuals are “similarly situated,” they have viewed this choice

through the lens of “the remedial purpose of the FLSA.” Wynn v.

National Broadcasting Co., Inc., 234 F. Supp. 2d 1067, 1082 (C.D. Cal.

2002); see also Bayles v. American Med. Response of Colo., Inc., 950 F.

Supp. 1053, 1067 (D. Colo. 1996) (choosing to “apply the Lusardi


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approach” in part because of the “remedial purposes of the FLSA.”).

This “remedial approach” lens, however, was rejected by the Supreme

Court in Encino Motorcars, LLC v. Navarro, where the Court

determined that courts “have no license to give [the FLSA] anything but

a fair reading.” 584 U.S. 79 at 89 (2018).

      In Encino, the Court held that it is a “flawed premise that the

FLSA ‘pursues’ its remedial purpose ‘at all costs.’” Id. (citations

omitted). This lead the Court to reject the longstanding practice of

narrowly construing FLSA exemptions and applies with equal force to

the question of how to determine which individuals are “similarly

situated.” A “fair reading” of the FLSA cannot lead a court to conclude

that the question of “similarly situated” should be answered with a two-

step approach where the court first determines on a “conditional” basis

if individuals are similarly situated to then revisit the question at a

later “decertification” stage. Instead, a “fair reading” of the statute

(which simply states that an individual may proceed on “behalf of

himself or themselves and other employees similarly situated,”) leads to

the conclusion that a court should determine, in one step, not two, if

other employees are “similarly situated.” 29 U.S.C. § 216(b). Because


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courts can no longer pick and choose how stringently to enforce each

aspect of the FLSA, the Court should “rigorously enforce” the “similarly

situated” language, just as it must “rigorously enforce” all other aspects

of the FLSA.


                               E.
  BECAUSE COURTS IN THIS CIRCUIT MUST EVALUATE THE FAIRNESS OF
     PROPOSED FLSA SETTLEMENTS BEFORE APPROVAL, THEY MUST
  RIGOROUSLY ENFORCE THE “SIMILARLY SITUATED” LANGUAGE OF THE
                             FLSA.

      Courts in this Circuit have a “duty to scrutinize any settlement of

an FLSA claim.” See e.g. Deane v. Fastenal Co., Case No.: 11-CV-0042-

YGR, at *4 (N.D. Cal. Nov. 14, 2013). “Ultimately, courts evaluate

whether a settlement agreement of FLSA claims is fair and reasonable

under the totality of the circumstances,” including evaluating “the

strength of plaintiffs case.” Panico v. Turnbull Law Grp., No. 21-CV-

02060-PHX-MTM, at *1 (D. Ariz. Jan. 24, 2022). It is illogical then,

that a court should evaluate the strength and merits of a plaintiff’s

claim when evaluating a settlement, but not do so when determining if

plaintiff is “similarly situated” with other employees—the very decision

that precipitates most settlements.



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      Under the two-step Lusardi approach, a court merely

“conditionally” decides that other individuals are “similarly situated”

with plaintiff. However, that “conditional” finding creates “in terrorem”

settlement pressure and leads the vast majority of collective actions to

settle before the court allows for discovery and ever considers the merits

of plaintiff’s claim. This makes it impossible for a court to truly

“scrutinize” the “strength of plaintiffs case” when evaluating an FLSA

collective settlement. By allowing the parties to engage in discovery

and ensuring courts “rigorously enforce” the “similarly situated”

statutory language, courts will later have the necessary facts to

properly evaluate the merits of plaintiff’s claim when scrutinizing FLSA

collective action settlements.


                                        F.
 THE COURT SHOULD ADOPT THE SWALES APPROACH TO ALIGN THE LAW
   WITH THE PLAIN MEANING OF THE STATUTE AND SUPREME COURT
                         PRECEDENT.

      In Swales v. KLLM Transport Services, L.L.C., 985 F.3d 430 (5th

Cir. 2021), the Fifth Circuit rejected the Lusardi framework in favor of

a consistent, rigorously enforced similarly-situated standard. It noted

that the Lusardi-based approach improperly handcuffs a district court,


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preventing any meaningful analysis on the “similarly situated” element

at the outset. Id. (“Lusardi frustrates, rather than facilitates, the notice

process”).

      Instead, “Lusardi distracts from the FLSA’s text” and creates

“conditional certification” and its attendant “modest” standard that

exists nowhere in the FLSA, or Supreme Court precedent. Id. at 440.

Courts use Lusardi and its two-step conditional certification mechanism

because there is no other accepted alternative. “But practice is not

necessarily precedent.” Id. As a consequence, the district court in

Swales, as the district court here, could not analyze the facts because it

was hamstrung by the “modest” standard of a Lusardi-based two-step

approach. District courts are left with a test that is so “flexib[le]” as to

be “unpredictab[le]” but so “ridged[ ]” as to prevent district courts from

engaging in any meaningful analysis. Id. at 441. The Court should

reject the two-step approach to certification for a mechanism that more

closely aligns with the plain meaning of the FLSA. Instead, the proper

framework for evaluating whether notice to putative opt-in plaintiffs

should be authorized is a single-step analysis: whether the named




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plaintiff(s) and the putative opt-in plaintiffs are “similarly situated.”

Swales, 985 F.3d at 441.

      Under Swales, in determining whether the similarly situated

standard is met, the district court must “rigorously scrutinize” the facts

and legal issues to determine whether the merits can be decided

collectively. Id. at 442. The district court’s determination comes after

some discovery has taken place, in contrast with the first step of the

Lusardi-based two-step approach, which asks the district court to rule

on conditional certification without the benefit of any. Id. at 441-442.

Cracker Barrel argues that the rigorous “similarly situated” standard in

Swales is the proper standard to evaluate Appellees’ Motion for

Conditional Certification for three reasons:

      First, as discussed supra, the Court is not bound by precedent to

follow the Lusardi-based two-step approach. Although many district

courts both in and outside the Ninth Circuit have applied the two-step

framework, the Ninth Circuit has never addressed whether it is

required by the FLSA or even whether it follows the statutory text. As

the court noted in Campbell, district courts within the Ninth Circuit

have followed a two-step approach “[i]n the absence of statutory or case


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law guidance” regarding the proper way to evaluate whether conditional

certification and the resulting court-authorized notice is appropriate.

903 F.3d at 1108-1109 (emphasis added). The Fifth Circuit’s decision in

Swales and the Sixth Circuit’s decision in Clark v. A&L Homecare &

Training Ctr., LLC, 68 F.4th 1003 (6th Cir. 2023)—also rejecting the

Lusardi two-step approach—now provide this Court and district courts

with persuasive authority that squarely addresses the issue.

      Second, and as discussed in Swales, using a single-step “similarly

situated” analysis far more follows the text of the FLSA than Lusardi’s-

two-step approach. Section 216(b) provides only that plaintiffs may

litigate jointly against an employer if they are “similarly situated.” The

word “certification,” much less “conditional certification,” appears

nowhere in the FLSA. Swales, 985 F.3d at 434. The Court has

expressed agreement on this point, stating in Campbell that the idea of

“conditional certification” is drawn from an improper analogy to Rule 23

class actions. 903 F.3d at 1101. The two-step approach leads to

minimal, if any, scrutiny of whether potential opt-in plaintiffs are

“similarly situated,” and instead asks the question “are individuals

similarly situated enough, even if it turns out after discovery and


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analysis of the facts that they actually aren’t similarly situated?” The

plain text of the FLSA does not endorse sending notice under § 216(b) to

individuals who are “similarly situated enough, for now, but might not

be later.” Instead, the Court should adopt a standard that aligns with

the FLSA’s plain text and lets district courts determine, after a period

of discovery and factual analysis, if potential opt-in plaintiffs are

“similarly situated.”

      Third, the “similarly situated” framework endorsed in Swales –

rigorously analyzing whether the claims can be decided collectively, and

allowing discovery related to that issue – follows Supreme Court

precedent regarding FLSA collective actions. In Hoffman-La Roche

Inc., the Court held that § 216(b) grants district courts the discretion to

help with notice to similarly situated individuals of a collective action.

However, the Court emphasized that the discretion to help with notice

was not “unbridled” — the notice process cannot serve as judicially-

approved process for solicitation of claims. 493 U.S. at 174. Thus, a

district court must rigorously analyze whether individuals may be

“similarly situated,” including having the benefit of discovery, before




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allowing court-approved notice to individuals who have not joined the

lawsuit. Swales, 985 F.3d at 435-436.6

      The Court should instruct the district court to evaluate Appellees’

Motion for Conditional Certification by rigorously scrutinizing the

factual and legal issues pertaining to Appellees’ claims and

determining, after the benefit of discovery, whether the merits of

Appellees’ claims can be resolved on a collective basis. Only after

applying that standard and concluding that notice is proper should the

Court authorize notice to other individuals of the right to opt-in to this

litigation.


                                        II.
THE DISTRICT COURT ERRED IN AUTHORIZING NOTICE UNDER § 216(B) OF
THE FLSA TO INDIVIDUALS WHOSE CLAIMS DO NOT ARISE FROM CRACKER
  BARREL’S ARIZONA CONDUCT AND OVER WHOM THE DISTRICT COURT
              LACKS SPECIFIC PERSONAL JURISDICTION.

      Every person who asks a federal court to adjudicate a claim must

show that personal jurisdiction exists as to her claims. Claimants must


      6 The Ninth Circuit’s opinion in   Campbell underscores the
significance of the Court’s decision regarding whether to facilitate
notice. 903 F.3d at 1101 (noting that the “sole consequence” of what
courts have termed conditional or preliminary certification is “the
sending of court-approved written notice to workers who may wish to
join the litigation as individuals.”) (internal quotations omitted).

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independently show that their individual claim is based on the

defendant’s conduct in the forum state unless a federal statute allows

nationwide service of process—which the FLSA does not. In Bristol-

Myers the Supreme Court clarified that, even when some individuals to

a mass action may properly assert personal jurisdiction, all party

plaintiffs keep the independent duty to establish the exercise of

personal jurisdiction regarding their own claims. 582 U.S. at 265.

      Here, in granting § 216(b) notice, the district court erred by

ignoring the question of personal jurisdiction as to those individuals

who would receive notice who did not work for Cracker Barrel in

Arizona. Bristol-Myers’s “straightforward application . . . of settled

principles of personal jurisdiction” prevents conditional certification of

any FLSA collective in this case that extends beyond Arizona’s borders.

Id. at 268. Because the out-of-state potential opt-in plaintiffs cannot

show that the district court can exercise personal jurisdiction over their

claims, the district court erred in allowing this notice under § 216(b).




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                              A.
PERSONAL JURISDICTION MUST BE ESTABLISHED IN ALL CASES AS TO ALL
                            CLAIMS.

      “The validity of an order of a federal court depends upon that

court’s having jurisdiction over both the subject matter and the parties.”

Ins. Corp. of Ireland, Ltd. v. Compagnie des Bauxites de Guinee, 456

U.S. 694, 701 (1982). The purpose of personal jurisdiction is to protect

defendants’ rights, and their liberty interests. See Bristol-Myers at 263.

“The Due Process Clause protects an individual's liberty interest in not

being subject to the binding judgments of a forum with which he has

established no meaningful ‘contacts, ties, or relations.’” Burger King

Corp. v. Rudzewicz, 471 U.S. 462, 471–72 (1985) (citation omitted). To

protect this liberty interest, courts may only exercise personal

jurisdiction if the defendant has “certain minimum contacts” with the

forum state. Int’l Shoe Co. v. Washington, 326 U.S. 310, 316 (1945).

      “Personal jurisdiction … is an essential element of a district

court’s jurisdiction, without which the court is powerless to proceed to

an adjudication.” Hendricks v. Bank of Am., N.A., 408 F.3d 1127, 1135

(9th Cir. 2005) (citing Ruhrgas AG v. Marathon Oil Co., 526 U.S. 574,

584 (1999)). Courts recognize two types of personal jurisdiction: general


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and specific. Ziegler v. Indian River County, 64 F.3d 470, 473 (9th Cir.

1995). Here, the district court already determined that it “lacks general

personal jurisdiction over Cracker Barrel.” (ER 38.) Thus, each

prospective opt-in must establish for himself or herself specific personal

jurisdiction in the district of Arizona. This Court has established a

three-part test for showing specific personal jurisdiction:

               “(1) The non-resident defendant must
             purposefully direct his activities or consummate
             some transaction with the forum or resident
             thereof; or perform some act by which he
             purposefully avails himself of the privilege of
             conducting activities in the forum, thereby
             invoking the benefits and protections of its laws;
               (2) the claim must be one which arises out of or
             relates to the defendant's forum-related activities;
             and
               (3) the exercise of jurisdiction must comport
             with fair play and substantial justice, i.e. it must
             be reasonable.” (Herbal Brands, Inc. v.
             PhotoPlaza, Inc., 72 F.4th 1085, 1090 [9th Cir.
             2023].)

      Prospective plaintiffs who did not work for Cracker Barrel in

Arizona, however, cannot satisfy prong two of this test.7 The district




      7 Cracker Barrel contends that out-of-state potential opt-in

plaintiffs could not satisfy any of the three prongs of the specific
personal jurisdiction test. However, failure to satisfy even one of the
prongs is fatal to establishing specific personal jurisdiction.

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court has determined that when “the Plaintiffs’ claims do not arise out

of Cracker Barrel’s operation of restaurants in Arizona,” plaintiffs “fail

the second prong of the specific personal jurisdiction test,” and

“[c]onsequently, the Court lacks specific personal jurisdiction over

Cracker Barrel” as it relates to potential plaintiffs who did not perform

work in Arizona. (ER 38.) The district court “has already found that it

would be unfair to subject Cracker Barrel to the Court’s jurisdiction,”

regarding potential opt-in plaintiffs who did not perform work for

Cracker Barrel in Arizona. (Id. at 38-39.)

        The Supreme Court’s decision in Bristol Myers further

emphasized the importance of specific personal jurisdiction, holding

that:

             “For a court to exercise specific jurisdiction over a
             claim, there must be an “affiliation between the
             forum and the underlying controversy, principally,
             [an] activity or an occurrence that takes place in
             the forum State.” Goodyear, 564 U.S., at 919, 131
             S.Ct. 2846 (internal quotation marks and brackets
             in original omitted). When there is no such
             connection, specific jurisdiction is lacking
             regardless of the extent of a defendant's
             unconnected activities in the State.…
             The relevant plaintiffs are not California residents
             and do not claim to have suffered harm in that
             State. In addition, as in Walden, all the conduct
             giving rise to the nonresidents' claims occurred

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             elsewhere. It follows that the California courts
             cannot claim specific jurisdiction.” (Id. at 264–266
             [citations omitted] [emphasis added].)

      As to potential opt-in plaintiffs who Cracker Barrel did not employ

in Arizona, the claims of these individuals (and alleged failure to pay

minimum and overtime wages) have no connection to the forum state of

Arizona and Cracker Barrel’s alleged conduct that gave rise to these

claims also did not occur in Arizona. Individuals who did not work for

Cracker Barrel in Arizona cannot show specific personal jurisdiction in

Arizona and are ineligible to participate. Because they cannot

participate, these individuals should not receive notice under § 216(b).


                                        B.
       THE UNDERLYING FEDERAL STATUTE DOES NOT PROVIDE FOR
                 NATIONWIDE SERVICE OF PROCESS.

      Specific personal jurisdiction depends on a defendant’s contacts

with the forum state unless the underlying federal statute provides for

nationwide service of process. The requirement that a claim arise from

forum contacts flows from the Fifth Amendment Due Process Clause in

federal question cases like this one. A court may only bind parties with

sufficient contacts to its forum.




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      Before a federal court may exercise personal jurisdiction over a

defendant there must be permission for service of summons on the

defendant. “Congress’ typical mode of providing for the exercise of

personal jurisdiction has been to authorize service of process.” BNSF

Ry. Co. v. Tyrrell, 581 U.S. 402, 409 (2017). In “most cases,” including

under the FLSA, Congress has not authorized nationwide service.

Walden v. Fiore, 571 U.S. 277, 283 (2014). Where Congress has not

authorized service for a particular federal cause of action (as in the case

of the FLSA) a federal court’s authority over a defendant is limited to

the same constitutional limitations the Fourteenth Amendment

imposes on state courts. See Walden, 571 U.S. at 283. Because the

FLSA does not provide for nationwide service of process, the territorial

limits of effective service—and the limits on a court’s jurisdictional

reach—are set by Fed. R. Civ. P. 4(k)(1)(A). As discussed supra,

potential opt-ins whose claims have no ties to Arizona and are not based

on any actions taken by Cracker Barrel in Arizona cannot show specific

personal jurisdiction with the district court and should not receive §

216(b) notice.




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                              C.
THE COURT SHOULD NOT AUTHORIZE § 216(B) NOTICE TO POTENTIAL OPT-
     INS WHOSE CLAIMS DO NOT STEM FROM ARIZONA ACTIVITIES.

      The claims of any potential opt-in who did not work for Cracker

Barrel in Arizona would suffer from a fatal personal jurisdiction defect,

resulting in dismissal of the potential opt-ins claims. The purpose of

sending an FLSA notice is to “permit potential [collective] members to

opt-into the lawsuit.” Weeks v. Matrix Absence Mgmt. Inc., 494 F.

Supp. 3d 653, 657 (D. Ariz. 2020) (emphasis added). It follows that

notice should not be sent to individuals—such as individuals who did

not work for Cracker Barrel in Arizona—who are not “potential

[collective] members.”

      The Supreme Court’s Bristol-Myers decision supports this result,

as do three of the four circuit courts that have applied Bristol-Myers to

FLSA collective actions in federal court:

    Fischer v. Fed. Express Corp., 42 F.4th 366, 370–71 (3d Cir. 2022)

      (“We join the Sixth and Eighth Circuits and hold that, where the

      basis of personal jurisdiction in an FLSA collective action in a

      federal court is specific personal jurisdiction established by

      serving process according to Federal Rule of Civil Procedure


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      4(k)(1)(A), every plaintiff who seeks to opt in to the suit must

      demonstrate his or her claim arises out of or relates to the

      defendant's minimum contacts with the forum state.”)(emphasis

      added);

    Vallone v. CJS Sols. Grp., LLC, 9 F.4th 861, 865–66 (8th Cir.

      2021) (“In order for a court to exercise specific jurisdiction over a

      claim,” there must be an “affiliation between the forum and the

      underlying controversy”—“unconnected activities” do not establish

      jurisdiction… The court properly excluded claims with no

      connection to [the forum state].”)(citations omitted)(emphasis

      added);

    Canaday v. Anthem Companies, Inc., 9 F.4th 392, 397 (6th Cir.

      2021), cert. denied, 142 S. Ct. 2777 (2022) (“Anthem did not

      employ the nonresident plaintiffs in Tennessee. Anthem did not

      pay the nonresident plaintiffs in Tennessee. Nor did Anthem

      shortchange them overtime compensation in Tennessee. Taken

      together, the claims before us look just like the claims in Bristol-

      Myers. Where, as here, nonresident plaintiffs opt into a putative

      collective action under the FLSA, a court may not exercise specific


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      personal jurisdiction over claims unrelated to the defendant's

      conduct in the forum State.”) (emphasis added).

      The jurisdictional facts here are parallel to those of Canaday.

Here, as in Canaday, (i) Cracker Barrel did not employ the non-resident

plaintiffs in Arizona; (ii) Cracker Barrel did not pay the non-resident

plaintiffs in Arizona; and (iii) Cracker Barrel did not (allegedly) fail to

pay plaintiffs minimum wage or overtime compensation in Arizona.

Given these similarities, the same result—denying conditional

certification of claims unrelated to Cracker Barrel’s conduct in

Arizona—is appropriate. District courts in this circuit and across the

country are in accord.8


      8 See e.g. Kurtz v. RegionalCare Hosp. Partners, Inc., No. 4:19-CV-
5049-RMP, 2021 WL 6246619, at *6 (E.D. Wash. Sept. 9, 2021)
(“Bristol-Myers applies to FLSA collective actions and preclude[s] [the]
court's exercise of personal jurisdiction to reach claims of nonresident
opt-in members without any link between the alleged conduct by
defendant and [the forum state].”); McNutt v. Swift Transp. Co. of Ariz.,
LLC, No. 18-cv-5668 BHS, 2020 WL 3819239, at *8 (W.D. Wash. July 7,
2020) (“because [defendant] is not subject to general jurisdiction in [the
forum state], the exercise of personal jurisdiction in this case would
require each opt-in plaintiff to demonstrate that their claim arose from
or is sufficiently related to [defendant’s] relationship to [the forum
state].”); Carlson v. United Nat. Foods, Inc., No. C20-5476-JCC, 2021
WL 3616786, at *3–4 (W.D. Wash. Aug. 14, 2021) (Denying conditional
certification of non-forum claims because “[a]s in Bristol-Myers, nothing
in the current record suggests that [non-forum state] employees’ claims
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      Courts across the country have found the application of Bristol-

Myers to the FLSA is appropriate based on three essential principles.

First, because FLSA collective actions are mass actions similar to the

one discussed in Bristol-Myers, there is no reasoned basis to decline to

apply Bristol-Myers in the FLSA context. Second, because the FLSA

does not provide for nationwide service of process, a non-resident

plaintiff’s claim under the FLSA has the same personal jurisdiction

analysis as the plaintiffs’ state law claims in Bristol-Myers. Third, these




arose out of any links between Defendants and [the forum state].”); see
also Vallone v. CJS Solutions Grp., LLC, 437 F. Supp. 3d 687, 691 (D.
Minn. 2020) (same); Bone v. XTO Energy, Inc., 561 F. Supp. 3d 1132,
1137 (D.N.M. 2021) (same); Goldowsky v. Exeter Fin. Corp., No. 15-cv-
632A(F), 2021 WL 695063, at *4 (W.D.N.Y. Feb. 23, 2021); Hodapp v.
Regions Bank, No. 4:18-cv-1389 HEA, 2020 WL 7480562, at *5 (E.D.
Mo. Dec. 18, 2020); Hutt v. Greenix Pest Control, LLC, No. 2:20-cv-
1108, 2020 WL 6892013, at *7–8 (S.D. Ohio Nov. 24, 2020); Greinstein
v. Fieldcore Servs. Sols., LLC, No. 2:18-cv-208-Z, 2020 WL 6821005, at
*4–6 (N.D. Tex. Nov. 20, 2020); Wiggins v. Jedson Eng’g, Inc., No. 1:19-
cv-00354-DCLC-CHS, 2020 WL 6993858, at *3–5 (E.D. Tenn. Aug. 27,
2020); Weirbach v. Cellular Connection, LLC, 478 F. Supp. 3d 544, 549–
52 (E.D. Pa. 2020); White v. Steak N Shake Inc., No. 4:20-cv-323 CDP,
2020 WL 1703938, at *4–5 (E.D. Mo. Apr. 8, 2020); Camp v. Bimbo
Bakeries USA, Inc., No. 18-cv-378-SM, 2020 WL 1692532, at *5–8
(D.N.H. Apr. 7, 2020); Murphy v. Labor Source, LLC, No. 19-cv-1929
(MJD/ECW), 2020 WL 3633234, at *14–15 (D. Minn. Mar. 12, 2020);
Chavira v. OS Restaurant Servs., LLC, No. 1:18-cv-10029, 2019 WL
4769101, at *6–7 (D. Mass. Sept. 30, 2019); Maclin v. Reliable Reports of
Tex., Inc., 314 F. Supp. 3d 845, 850–51 (N.D. Ohio 2018).

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cases emphasize—as Bristol-Myers did—that applying Bristol-Myers

does not bar the non-resident plaintiffs from pursuing their claims or

from doing so nationwide in a forum where jurisdiction properly lies.

The Court should apply the reasoning of Bristol-Myers to the FLSA and

instruct the district court to limit § 216(b) notice, if any, to only those

potential plaintiffs who can show specific personal jurisdiction.


             1.   FLSA OPT-IN PLAINTIFFS ARE NOT MEANINGFULLY
                  DISTINGUISHABLE FROM THE MASS TORT PLAINTIFFS IN
                  BRISTOL-MYERS.
      This Court holds that an FLSA collective action is “a kind of mass

action,” Campbell, 903 F.3d at 1105, in which a named plaintiff files a

complaint on behalf of himself and other similarly situated employees,

29 U.S.C. § 216(b). Opt-in plaintiffs are not automatically joined to the

case and instead must affirmatively opt into the action to “become . . .

party plaintiff[s].” 29 U.S.C. § 216(b). Rather than being represented by

the named plaintiff, opt-in plaintiffs “assert[] claims in their own right.”

Hoffman-La Roche, Inc. v. Sperling, 493 U.S. 165, 173 (1989).

      Under the FLSA’s express statutory framework, each opt-in

plaintiff’s FLSA action is not began until his/her individual “written

consent is filed in the court.” 29 U.S.C. § 256(b). And after filing their

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consents, the opt-ins “act as a collective of individual plaintiffs with

individual cases.” Campbell, 903 F.3d at 1105. As the McNutt court

observed, “‘[t]he FLSA leaves no doubt that ‘every plaintiff who opts

into a collective action has party status.’ . . . [T]his framing requires the

conclusion that FLSA opt-in plaintiffs are analogous to the mass tort

plaintiffs in Bristol-Myers.” 2020 WL 3819239, at *8 (quoting

Campbell, 903 F.3d at 1104). Bristol-Myers requires individual-by-

individual analyses to assess whether personal jurisdiction may be

established over each plaintiff’s personal claim. It expressly prohibits

bootstrapping jurisdiction to the claims of out-of-state opt-ins only

because jurisdiction may exist over the claims of Appellees who worked

for Cracker Barrel in Arizona. See Bristol-Myers, 137 S. Ct. at 1781.


             2.   BRISTOL-MYERS’ ANALYSIS OF STATE CLAIMS IN STATE
                  COURT APPLIES EQUALLY TO THE FLSA,

      Although Bristol-Myers “le[ft] open the question whether the Fifth

Amendment imposes the same restrictions on the exercise of personal

jurisdiction by a federal court,” well-settled due process principles

clarify that the same analysis used by the Bristol-Myers Court must be

applied in the FLSA context. As discussed supra, Federal Rule of Civil


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Procedure 4(k) requires a federal court to follow the personal

jurisdiction rules of the state in which it sits unless Congress has

provided otherwise. For that reason, “a national service provision is a

necessary prerequisite for a court to even consider a national contacts

approach.” Go-Video, Inc. v. Akai Elec. Co., 885 F.2d 1406, 1416 (9th

Cir. 1989). Yet “[t]he FLSA does not provide for nationwide service of

process.” McNutt, 2020 WL 3819239, at *8. That means the personal

jurisdiction analysis is “constrained by” the same state-based minimum-

contacts analysis used in Bristol-Myers. Id. (citing Fed. R. Civ. P.

4(k)(1)(A)); see also Wells Fargo & Co. v. Wells Fargo Exp. Co., 556 F.2d

406, 418–19 (9th Cir. 1977) (holding that, because the Lanham Act did

not allow nationwide service of process, a Nevada court did not have

personal jurisdiction over claims arising in California). While Congress

remains free to allow nationwide service of process under the FLSA, as

it has done with other statutes, it has chosen not to do so. That choice

requires application of the Bristol-Myers analysis here. “Because

[defendants are] not subject to general jurisdiction in [the forum state],

the exercise of personal jurisdiction in this case would require each opt-

in plaintiff to demonstrate that their claim arose from or is sufficiently


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related to [defendants’] relationship to [the forum state].” McNutt, 2020

WL 3819239, at *8. Potential out-of-state opt-ins who worked

exclusively outside of Arizona cannot do so, and they should not be

invited to join this case through § 216(b) notice.


             3.   FLSA OPT-IN PLAINTIFFS REMAIN FREE TO FILE CLAIMS
                  WHERE PERSONAL JURISDICTION MAY BE PROPERLY
                  ESTABLISHED.

      While ultimately secondary to—and without the ability to

override—the jurisdictional principles noted above, Congress’s intent in

passing the FLSA only further supports the application of Bristol-Myers

to the FLSA. “When Congress knows how to provide a remedy but does

not do so, Courts should infer that Congress’s decision was intentional.”

Weirbach, 478 F. Supp. 3d at 551 (citing Meghrig v. KFC W., Inc., 516

U.S. 479, 485 (1996)). Congress did not include a nationwide service of

process provision in the FLSA, despite doing so in past legislation.

Greinstein, 2020 WL 6821005, at *6. “The lack of a similar provision in

the FLSA suggests that Congress intended to limit where nationwide

actions can be brought.” Weirbach, 478 F. Supp. 3d at 551. Just as in

Bristol-Myers, refusing to let potential out-of-state opt-ins join a case in

this forum “does not prevent the [Arizona] and out-of-state plaintiffs

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from joining together in a consolidated action in the States that have

general jurisdiction over [defendant].” Bristol Myers at 257.


             4.   BRISTOL-MYERS PRECLUDES NATION-WIDE FLSA
                  CERTIFICATION.

      In sum, whatever policy interests may underlie the FLSA, they

cannot supersede constitutional due process protections. See, e.g.,

McNutt, 2020 WL 3819239, at *8 (noting that any concerns the court

may have about the implications of its ruling could not override the

conclusion that personal jurisdiction is lacking). Because each out-of-

state FLSA opt-in plaintiff has independent party status and because

each cannot pursue his or her claims in this forum, the Court must

instruct the district court to limit § 216(b) notice, if any, only to

individuals who can show specific personal jurisdiction in Arizona.


                                      III.
THE DISTRICT COURT ERRED IN AUTHORIZING NOTICE UNDER § 216(B) OF
   THE FLSA TO INDIVIDUALS WHOM THE DISTRICT COURT ALREADY
    DETERMINED TO BE BOUND BY AN ENFORCEABLE ARBITRATION
                          AGREEMENT.

      This Court holds “that when a court decides upon a rule of law,

that decision should continue to govern the same issues in subsequent

stages in the same case.” U.S. v. Marguet-Pillado, 648 F.3d 1001, 1010

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(9th Cir. 2011); see also Century 21 Real Est. LLC v. Century Ins. Grp.,

No. 03-0053-PHX-SMM, 2007 WL 484555, at *3 (D. Ariz. Feb. 8,

2007), aff'd sub nom. Century 21 Real Est. LLC v. Century Sur. Co., 300

F. App'x 527 (9th Cir. 2008) (promoting “the concept that courts should

generally follow earlier orders in the same case.”). The “law of the case”

was established and clarified by the district court in the Order, holding

that “Employees who have signed the Agreement, including through

Cracker Barrel’s online training program, while the majority age are

subject to the Agreement” and cannot bring their claims in court.

(Order, ER 16-18.) “By contrast, employees are not subject to the

Agreement” and therefore eligible to participate, “if they: (1) did not

sign the Agreement; (2) signed the Agreement when they were a minor

and are still a minor; or (3) signed the Agreement when they were a

minor and voided the Agreement after turning the majority age.” (Id. at

ER 18-21.) Despite this ruling, the district court authorized § 216(b)

notice to well over 100,000 individuals, about two-thirds of whom, by

the district court’s own ruling, cannot participate. As discussed supra,

the purpose of sending an FLSA notice is to

“permit potential [collective] members to opt-into the lawsuit.” Weeks,


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494 F. Supp. 3d at 657 (emphasis added). By the district court’s own

determination, individuals who signed the Arbitration Agreement while

the majority age are not “potential [collective] members” and should not

be sent § 216(b) notice.


                                A.
   SECTION 216(B) NOTICE SHOULD NOT BE SENT TO INDIVIDUALS WHO
                CANNOT PARTICIPATE IN THE LAWSUIT.

      Where the district court has determined who an Arbitration

Agreement applies to and who it does not apply to, courts in this circuit

let defendants present evidence as to which individuals are bound to

arbitrate their claims based on the Court’s previous rulings. See e.g.

Droesch v. Wells Fargo Bank, N.A., No. 20-CV-06751-JSC, 2021 WL

2805604, at *3 (N.D. Cal. July 6, 2021) (“allow[ing] Wells Fargo the

opportunity to present evidence in support of its argument that 27,000

of the employees in the collective action signed valid and enforceable

arbitration agreements” and should not be mailed notice.) A closer

analysis of Droesch is instructive. In Droesch, as here, the court had

“ruled on the enforceability of the arbitration agreement” before

granting plaintiff’s motion for conditional certification. Id. In Droesch,

plaintiff sought to mail notice to 27,000 individuals bound to arbitrate

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claims and were ineligible to join the case. Here, Appellees seek to mail

to over 60,000 individuals who the Court has determined are bound to

arbitrate claims and are ineligible to join this case. In Droesch, the

court concluded that “given that the Court has now ruled on the

enforceability of the arbitration agreement, it would make little sense to

provide notice to 27,000 individuals whose claims appear barred from

being prosecuted here.” 2021 WL 2805604, at *3 (emphasis added)

(citing Bigger v. Facebook, Inc., 947 F.3d 1043, 1050 (7th Cir. 2020) (“In

the specific situation where the court has been shown certain

individuals may not join the action, it may be inefficient to send notice

to those people—because the notice may serve only to prompt futile

attempts at joinder or the assertion of claims outside the collective

proceeding.”). The same logic applies here, as “it would make little

sense to provide notice” to over 60,000 individuals whose claims are

barred from being prosecuted in this case. Id.

      Where “there is no dispute that certain individuals cannot

participate in the collective action, sending such individuals notice

would [not] merely be inefficient. It would be frivolous.” Sandbergen v.

Ace Am. Ins. Co., No. 18-CV-04567-SK, 2019 WL 13203944, at *4 (N.D.


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Cal. June 17, 2019) (citation omitted). The Fifth Circuit summed up the

issue well in In re JPMorgan Chase & Co., holding that “alerting those

who cannot ultimately participate in the collective ‘merely stirs up

litigation,’ which is what Hoffmann-La Roche flatly proscribes.” 916

F.3d 494, 502 (5th Cir. 2019). Because the district court has

determined that over 60,000 individuals cannot participate in the

lawsuit due to signing the Arbitration Agreement, the Court should

instruct the district court to not offend Hoffmann-La Roche by stirring

up litigation. Instead, the district court should only allow § 216(b)

notice, if any, to those individuals who can participate.


                                 B.
     SENDING § 216(B) NOTICE TO THOSE INDIVIDUALS BOUND BY AN
   ARBITRATION AGREEMENT OFFENDS THE FEDERAL ARBITRATION ACT.

      In addition to offending Hoffmann-La Roche by stirring up

litigation, the district court’s Order also runs in stark contrast to and

greatly offends the Federal Arbitration Act (FAA). The FAA mandates

that arbitration agreements be rigorously enforced according to their

terms. See Epic Sys. Corp. v. Lewis, 138 S. Ct. 1612, 1621 (2018) (the

FAA directs courts to treat arbitration agreements as “valid,

irrevocable, and enforceable.”). Given this doctrine, the FLSA and the

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FAA must be interpreted in harmony with each other. See, e.g., Gaffers

v. Kelly Servs., Inc., 900 F.3d 293, 295-96 (6th Cir. 2018) (stating that

while the FLSA “gives employees the option to bring their claims

together . . . it does not say that agreements requiring one-on-one

arbitration become a nullity if an employee decides that he wants to sue

collectively after signing one.”) (original emphasis). The way to

harmonize the FAA and the FLSA is simple and straightforward—

instead of sending FLSA notice to individuals who the FAA clarifies

cannot participate, the Court should direct the district court to exclude

from any notice dissemination those individuals who have signed

arbitration agreements after turning the age of majority. See Id. at 296

(concluding that “employees who do not sign individual arbitration

agreements are free to sue collectively, and those who do sign individual

arbitration agreements are not.”) (citing Epic Sys. Corp., 138 S. Ct. at

1624). Only those individuals can participate, and only those

individuals should be eligible to receive § 216(b) notice.




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                              IV.
  THE DISTRICT COURT ERRED IN ALLOWING AN ADULT TO REPUDIATE A
  CONTRACT SIGNED AS A MINOR OVER 18 MONTHS AFTER TURNING THE
                        AGE OF MAJORITY.

      It is generally held that minors can void agreements that a party

tries to enforce against them. See St. Paul Fire & Marine Ins. Co. v.

Muniz, 19 Ariz. App. 5, 7, 504 P.2d 546, 548 (1972). Appellee Basch was

not a minor, and was nineteen and a half when he tried to repudiate his

contract and join this ligation. So he cannot rely on St. Paul Fire &

Marine Ins. Co. to try to repudiate his signed Arbitration Agreement.

See also Arizona E. R. Co. v. Carillo, 17 Ariz. 115, 121, 149 P. 313, 315

(1915) (noting that a minor’s power to void a contract exists “during

infancy”). Instead, Basch must rely on Modern Woodmen of Am. v.

Stevens, which lets an adult void an agreement previously entered into

while he or she was a minor if such disaffirmance is asserted within a

reasonable time after reaching the age of majority. See 70 Ariz. 232,

235, 219 P.2d 322, 324 (1950) (referencing authorities holding that a

minor “will be required to perform according to the terms thereof unless

he repudiates the same within a reasonable time after reaching his

majority.”); Sheller by Sheller v. Frank’s Nursery & Crafts, Inc., 957 F.

Supp. 150, 153 (N.D. Ill. 1997) (noting that the “[t]he general rule

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applicable to all contracts, other than for necessaries, is that the

contract of a minor is voidable and may be repudiated by the minor

during minority or within a reasonable time upon achieving majority

absent a ratification.”) (emphasis added). The question before the Court

is whether Basch, who received the benefit of the Agreement as an

adult for over eighteen months, can now be allowed to repudiate the

agreement at age nineteen and a half. The answer is “no,” as Basch did

not repudiate his Arbitration Agreement “within a reasonable time

upon achieving majority.”


                                      A.
 PUBLIC POLICY AND EQUITY SUPPORT ENFORCING BASCH’S ARBITRATION
                           AGREEMENT.

      Enforcing the arbitration agreement regarding the 19-and-a-half-

year-old Appellee Basch squares with sound public policy and equity.

As courts in this this circuit and across the country have held, an adult

plaintiff should be prevented from voiding or disaffirming a contract

entered into as a minor when, after becoming an adult, the plaintiff

continued to accept the benefits associated with the contract. See, e.g.,

Paster v. Putney Student Travel, Inc., CV 99-2062 RSWL, 1999 WL

1074120, at *2 (C.D. Cal. June 9, 1999) (preventing plaintiff, who

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accepted the benefits of a month-long activities program, from voiding a

forum selection clause in the program agreement signed as a minor);

Bobby Floars Toyota, Inc. v. Smith, 48 N.C. App. 580, 584, 269 S.E.2d

320, 323 (N.C. 1980) (preventing car buyer from voiding installment

loan agreement entered into as a minor when he continued to have the

car and make payments before attempting repudiation). At least one

court has followed the policy rationale in enforcing an employment

arbitration agreement applicable to minors whose employment ended

before the age of majority. See Sheller, supra, 957 F. Supp. at 153.

      Courts reason that “the infancy defense may not be used

inequitably to retain the benefits of a contract while reneging on the

obligations attached to that benefit.” E.K.D. ex rel. Dawes v. Facebook,

Inc., 885 F. Supp. 2d 894, 899 (S.D. Ill. 2012). However, this is exactly

what Appellee Basch attempts to do here. As the Agreement states in

its first sentence, “[i]n exchange for my employment or continued

employment as well as the mutual promises contained in this

[Agreement]…Cracker Barrel [] and I agree to use…confidential

binding arbitration…for dispute resolution…”. Basch took this

benefit—employment and continued employment with Cracker Barrel—


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for over 18 months after turning 18—while reneging on his obligations

in the Agreement. This is an inequitable use of the infancy defense and

courts across the country are in accord. See e.g. E.K.D. ex rel. Dawes,

885 F. Supp. 2d at 899 (citing 5 Samuel Williston & Richard A. Lord, A

Treatise on the Law of Contracts § 9:14 (4th ed. 1993 & Supp. 2011)

(collecting cases)) (“[i]f an infant enters into any contract subject to

conditions or stipulations, the minor cannot take the benefit of the

contract without the burden of the conditions or stipulations.”)

(emphasis added). The Court should instruct the district court to

enforce the Arbitration Agreement as to Appellee Basch.


                                      B.
     BASCH’S DELAY OF MORE THAN 18 MONTHS IS “UNREASONABLE.”

      Although courts generally hold that a “reasonable time” for

voiding a minor contact will depend on the particular case at hand,

Cracker Barrel submits for all the reasons above that the delay of more

than 18 months is unreasonable. See Norred v. Cotton Patch Cafe,

LLC, 3:19-CV-1010-G, 2019 WL 5425479, at *7 (N.D. Tex. Oct. 22, 2019)

(unreasonable to wait almost one year after turning 18—in an FLSA

action, preventing plaintiff from repudiating an arbitration agreement


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signed as a minor where plaintiff did not attempt repudiation until

almost one year after turning 18 years old); Bobby Floars Toyota, Inc.,

supra, 269 S.E.2d at 323 (unreasonable to wait 10 months—preventing

car buyer from voiding installment loan agreement entered into as a

minor when he continued to have the car and make payments for 10

months before attempting repudiation); Kelly v. Furlong, 194 Minn.

465, 467, 261 N.W. 460, 462 (Minn. 1935) (unreasonable to wait less

than 7 months after turning 18—holding that minor’s failure to rescind

transactions for a period of slightly less than 7 months after turning 18

was unreasonable). It seems patently unreasonable to suggest that a

19-and-a-half-year-old such as Appellee Basch can legally vote, serve in

the armed forces, and enter marriage, but would not have to comply

with an arbitration agreement for employment disputes that applies to

all other employees. The Court should find that Basch waited too long

to repudiate the Arbitration Agreement and instruct the district court

to enforce the Agreement as to Appellee Basch.




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                              CONCLUSION
      Cracker Barrel respectfully requests the Court reverse and

remand this matter with instructions to the district court to evaluate

Plaintiffs’ motion to send FLSA notice using the one-step mechanism

articulated in Swales. If the district court still determines that notice is

appropriate, the Court should instruct that notice cannot be sent to

individuals who are not potential plaintiffs because they (i) signed the

Arbitration Agreement as adults and/or (ii) cannot establish specific

personal jurisdiction in the forum state. Finally, the Court should find

that it is unreasonable to wait over 18 months after turning the age of

majority to repudiate a contract and therefore instruct the district court

to enforce the Arbitration Agreement as to plaintiff Basch.



Dated: June 14, 2024

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                 CERTIFICATE OF COMPLIANCE

      This brief complies with the type-volume limitation of FED. R. APP.

PROC. 5(c)(1) because this brief contains fewer than 11,000 words,

excluding the parts exempted by FED. R. APP. PROC. 32(f).

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      I certify that on 14, 2024, the foregoing document was transmitted

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